Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 1 of 12




            ATTACHMENT 3
      Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 2 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Chanel, Inc.,

                 Plaintiff,

 v.                                                Case No. 1:18-cv-10626-VSB

 The RealReal, Inc.,

                 Defendant.


                            DEFENDANT THE REALREAL’S
                 SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
      PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSION TO DEFENDANT
        In accordance with Federal Rule of Civil Procedure 36, Defendant The RealReal, Inc.

(“TRR”) by its attorneys, Paul, Weiss, Rifkind, Wharton & Garrison LLP, and King & Spalding

LLP, hereby submits these Supplemental Responses and Objections to Plaintiff’s first set of

Requests for Admission (the “Requests”).

                                   GENERAL STATEMENT

        TRR’s responses are made subject to and without waiver of any questions or objections as

to the competency, relevancy, materiality, privilege, or admissibility as evidence or for any other

purpose, of any of the information referred to or of the responses given herein, or of the subject

matter thereof in any proceeding, including the trial of this action or any other subsequent

proceeding, and said responses are made specifically subject to the right to object to any

proceeding involving or relating to the subject matter of the Requests responded to herein.

        TRR has not completed its investigation of the facts related to this case. TRR responds to

these Requests based on its present knowledge, the documents and things presently in its

possession, and the analysis it has completed to date. TRR reserves the right: (1) to rely on facts,

documents, or evidence that subsequently come to TRR’s attention; (2) to assert additional
     Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 3 of 12




objections or supplement these responses should TRR discover additional information or grounds

for objection; and (3) to supplement or amend these responses at any time. TRR’s responses are

not intended to waive or prejudice any rights or objections TRR may assert now or at a future point

in this litigation.

                OBJECTIONS TO THE DEFINITIONS AND INSTRUCTIONS

        1.       TRR objects to the definitions and instructions to the extent they impose obligations

greater than or different from those imposed by the Federal Rules of Civil Procedure, and/or the

local rules for the Southern District of New York. TRR will comply with the federal and local

rules in responding to the Requests.

        2.       TRR objects to the definition of “Defendant” or “TRR” as overbroad and seeking

information that is not within TRR’s possession, custody, or control. TRR will construe the terms

“Defendant” or “TRR” to mean The RealReal, Inc., the named defendant in this case.

        3.       TRR objects to the time period of “January 1, 2014 to the present” as overbroad

and unduly burdensome.

        4.       TRR objects to each of the Requests for Admission as vague and ambiguous in that

they are not drafted “simply, directly….and in such a manner that they can be answered with a

simple admit or deny without an explanation.” See Henry v. Champlain Enterprises, Inc., 212

F.R.D. 73, 77 (N.D.N.Y. 2003).

    SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

         TRR offered for sale the CHANEL-branded pink Classic Jumbo Double Flap Bag shown
in the first substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 2).

RESPONSE TO REQUEST FOR ADMISSION NO. 1:




                                                   2
    Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 4 of 12




        TRR objects to Request No. 1 as vague and ambiguous because the phrase “offered for

sale” is broad and capable of multiple interpretations and because Exhibit E of Chanel’s First

Amended Complaint contains low-resolution screenshots purportedly from TRR’s website along

with photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “offered for sale” by

TRR. TRR also objects to Request No. 1 as premature, as Chanel has not yet produced for

inspection the Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 1.

REQUEST FOR ADMISSION NO. 2:

       TRR sold the CHANEL-branded pink Classic Jumbo Double Flap Bag shown in the first
substantive page of Exhibit E of the Amended Complaint.

RESPONSE TO REQUEST FOR ADMISSION NO. 2:

        TRR objects to Request No. 2 as vague and ambiguous because the term “sold” is broad

and capable of multiple interpretations and because Exhibit E of Chanel’s First Amended

Complaint contains low-resolution screenshots purportedly from TRR’s website along with

photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “sold” by TRR. TRR

also objects to Request No. 2 as premature, as Chanel has not yet produced for inspection the

Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 2.

REQUEST FOR ADMISSION NO. 3:

       TRR offered for sale the CHANEL-branded plum Jumbo Soft Flap Bag shown in the
second substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 3).

                                                3
    Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 5 of 12




RESPONSE TO REQUEST FOR ADMISSION NO. 3:

       TRR objects to Request No. 3 as vague and ambiguous because the phrase “offered for

sale” is broad and capable of multiple interpretations and because Exhibit E of Chanel’s First

Amended Complaint contains low-resolution screenshots purportedly from TRR’s website along

with photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “offered for sale” by

TRR. TRR also objects to Request No. 3 as premature, as Chanel has not yet produced for

inspection the Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 3.

REQUEST FOR ADMISSION NO. 4:

       TRR sold the CHANEL-branded plum Jumbo Soft Flap Bag shown in the second
substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 3).

RESPONSE TO REQUEST FOR ADMISSION NO. 4:

       TRR objects to Request No. 4 as vague and ambiguous because the term “sold” is broad

and capable of multiple interpretations and because Exhibit E of Chanel’s First Amended

Complaint contains low-resolution screenshots purportedly from TRR’s website along with

photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “sold” by TRR. TRR

also objects to Request No. 4 as premature, as Chanel has not yet produced for inspection the

Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 4.

REQUEST FOR ADMISSION NO. 5:


                                                4
    Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 6 of 12




       TRR offered for sale the CHANEL-branded Coco Supple Hobo bag shown in the third
substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 4).

RESPONSE TO REQUEST FOR ADMISSION NO. 5:

       TRR objects to Request No. 5 as vague and ambiguous because the phrase “offered for

sale” is broad and capable of multiple interpretations and because Exhibit E of Chanel’s First

Amended Complaint contains low-resolution screenshots purportedly from TRR’s website along

with photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “offered for sale” by

TRR. TRR also objects to Request No. 5 as premature, as Chanel has not yet produced for

inspection the Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 5.

REQUEST FOR ADMISSION NO. 6:

       TRR sold the CHANEL-branded Coco Supple Hobo bag shown in the third substantive
page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 4).

RESPONSE TO REQUEST FOR ADMISSION NO. 6:

       TRR objects to Request No. 6 as vague and ambiguous because the term “sold” is broad

and capable of multiple interpretations and because Exhibit E of Chanel’s First Amended

Complaint contains low-resolution screenshots purportedly from TRR’s website along with

photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “sold” by TRR. TRR

also objects to Request No. 6 as premature, as Chanel has not yet produced for inspection the

Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 6.

                                                5
    Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 7 of 12




REQUEST FOR ADMISSION NO. 7:

        TRR offered for sale the CHANEL-branded black Classic Jumbo Double Flap Bag shown
in the fourth substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 5).

RESPONSE TO REQUEST FOR ADMISSION NO. 7:

       TRR objects to Request No. 7 as vague and ambiguous because the phrase “offered for

sale” is broad and capable of multiple interpretations and because Exhibit E of Chanel’s First

Amended Complaint contains low-resolution screenshots purportedly from TRR’s website along

with photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “offered for sale” by

TRR. TRR also objects to Request No. 7 as premature, as Chanel has not yet produced for

inspection the Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 7.

REQUEST FOR ADMISSION NO. 8:

       TRR sold the CHANEL-branded black Classic Jumbo Double Flap Bag shown in the fourth
substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 5).

RESPONSE TO REQUEST FOR ADMISSION NO. 8:

       TRR objects to Request No. 8 as vague and ambiguous because the term “sold” is broad

and capable of multiple interpretations and because Exhibit E of Chanel’s First Amended

Complaint contains low-resolution screenshots purportedly from TRR’s website along with

photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “sold” by TRR. TRR

also objects to Request No. 8 as premature, as Chanel has not yet produced for inspection the

Handbags purportedly represented in Exhibit E of the Amended Complaint.




                                                6
    Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 8 of 12




       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 8.

REQUEST FOR ADMISSION NO. 9:

       TRR offered for sale the CHANEL-branded 2017 Grained Calfskin Top Handle Flap Bag
shown in the fifth substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 6).

RESPONSE TO REQUEST FOR ADMISSION NO. 9:

       TRR objects to Request No. 9 as vague and ambiguous because the phrase “offered for

sale” is broad and capable of multiple interpretations and because Exhibit E of Chanel’s First

Amended Complaint contains low-resolution screenshots purportedly from TRR’s website along

with photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “offered for sale” by

TRR. TRR also objects to Request No. 9 as premature, as Chanel has not yet produced for

inspection the Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 9.

REQUEST FOR ADMISSION NO. 10:

         TRR sold the CHANEL-branded 2017 Grained Calfskin Top Handle Flap Bag shown in
the fifth substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 6).

RESPONSE TO REQUEST FOR ADMISSION NO. 10:

        TRR objects to Request No. 10 as vague and ambiguous because the term “sold” is broad

and capable of multiple interpretations and because Exhibit E of Chanel’s First Amended

Complaint contains low-resolution screenshots purportedly from TRR’s website along with

photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “sold” by TRR. TRR




                                                7
    Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 9 of 12




also objects to Request No. 10 as premature, as Chanel has not yet produced for inspection the

Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 10.

REQUEST FOR ADMISSION NO. 11:

        TRR offered for sale the CHANEL-branded Chevron Flap Shopping Tote shown in the
sixth substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 7).

RESPONSE TO REQUEST FOR ADMISSION NO. 11:

       TRR objects to Request No. 11 as vague and ambiguous because the phrase “offered for

sale” is broad and capable of multiple interpretations and because Exhibit E of Chanel’s First

Amended Complaint contains low-resolution screenshots purportedly from TRR’s website along

with photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “offered for sale” by

TRR. TRR also objects to Request No. 11 as premature, as Chanel has not yet produced for

inspection the Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 11.

REQUEST FOR ADMISSION NO. 12:

       TRR sold the CHANEL-branded Chevron Flap Shopping Tote shown in the sixth
substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 7).

RESPONSE TO REQUEST FOR ADMISSION NO. 12:

       TRR objects to Request No. 12 as vague and ambiguous because the term “sold” is broad

and capable of multiple interpretations and because Exhibit E of Chanel’s First Amended

Complaint contains low-resolution screenshots purportedly from TRR’s website along with

photographs of handbags with illegible serial number cards, which do not provide sufficient

                                                8
   Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 10 of 12




information for TRR to determine whether Exhibit E “show[s]” handbags “sold” by TRR. TRR

also objects to Request No. 12 as premature, as Chanel has not yet produced for inspection the

Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 12.

REQUEST FOR ADMISSION NO. 13:

       TRR offered for sale the CHANEL-branded pink Naked Flag [sic] Bag shown in the
seventh substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 8).

RESPONSE TO REQUEST FOR ADMISSION NO. 13:

       TRR objects to Request No. 13 as vague and ambiguous because the phrase “offered for

sale” is broad and capable of multiple interpretations and because Exhibit E of Chanel’s First

Amended Complaint contains low-resolution screenshots purportedly from TRR’s website along

with photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “offered for sale” by

TRR. TRR also objects to Request No. 13 as premature, as Chanel has not yet produced for

inspection the Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 13.

REQUEST FOR ADMISSION NO. 14:

       TRR offered for sale the CHANEL-branded pink Naked Flag [sic] Bag shown in the
seventh substantive page of Exhibit E of the Amended Complaint (Dkt. No. 26-5 at 8).

RESPONSE TO REQUEST FOR ADMISSION NO. 14:

       TRR objects to Request No. 14 as vague and ambiguous because the term “sold” is broad

and capable of multiple interpretations and because Exhibit E of Chanel’s First Amended

Complaint contains low-resolution screenshots purportedly from TRR’s website along with

                                                9
   Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 11 of 12




photographs of handbags with illegible serial number cards, which do not provide sufficient

information for TRR to determine whether Exhibit E “show[s]” handbags “sold” by TRR. TRR

also objects to Request No. 14 as premature, as Chanel has not yet produced for inspection the

Handbags purportedly represented in Exhibit E of the Amended Complaint.

       Subject to and without waiving its objections, TRR states that, at this time, it lacks

sufficient information to either admit or deny Request No. 14.



Dated: December 3, 2020

                                                    Respectfully submitted,

                                                    /s/ Karen L. Dunn

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                                               10
   Case 1:18-cv-10626-VSB-GWG Document 89-3 Filed 12/21/20 Page 12 of 12




                                   CERTIFICATE OF SERVICE

       I hereby certify that, on December 3, 2020, I caused a true and correct copy of the foregoing

Defendant The RealReal’s Supplemental Objections and Responses To Plaintiff’s First Set Of

Requests For Admission To Defendant was served via email on all counsel of record.



                                             PAUL, WEISS,          RIFKIND,      WHARTON          &
                                             GARRISON LLP



                                                     /s/     Karen L. Dunn
                                                             Karen L. Dunn




                                                11
